UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JOHN DOE,
                              Plaintiff,
                                                                24-CV-7774 (JPO)
                    -v-
                                                                     ORDER
 SEAN COMBS, et al.,
                              Defendants.


J. PAUL OETKEN, District Judge:

       On October 16, 2024, Plaintiff filed a motion for leave to proceed anonymously in this

case. (ECF No. 24.) Defendants may file any response in opposition to the motion within 30

days after being served with the complaint.

       SO ORDERED.

Dated: October 28, 2024
       New York, New York

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                                                         J. PAUL OETKEN
                                                     United States District Judge
